Case 2:20-cv-03702-JWH-E Document 56 Filed 04/28/21 Page 1 of 2 Page ID #:867




   1
   2                                                                  JS-6
   3
   4
   5
   6
   7
   8                    UNITED STATES DISTRICT COURT
   9             FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10
  11   RICK ESPINDOLA, an individual,         Case No. 2:20-cv-03702-JWH-Ex
  12              Plaintiff,
                                              JUDGMENT
  13        v.
  14   WISMETTAC ASIAN FOODS, INC.;
         and
  15   DOES 1 TO 20, inclusive,
  16              Defendants.
  17
  18
  19
 20
  21
 22
  23
 24
  25
 26
  27
 28
Case 2:20-cv-03702-JWH-E Document 56 Filed 04/28/21 Page 2 of 2 Page ID #:868




   1         In accordance with the Order filed concurrently herewith, and pursuant to
  2    Rule 58 of the Federal Rules of Civil Procedure, IT IS HEREBY ORDERED,
   3   ADJUDGED, AND DECREED that judgment be entered as follows:
  4          1.     Judgment in the above-captioned is entered in FAVOR of
   5   Defendant Wismettac Asian Foods, Inc. and AGAINST Plaintiff Rick
  6    Espindola.
   7         2.     Fictitiously named Defendants Does 1 to 20 are DISMISSED.
   8         3.     Plaintiff Rick Espindola shall recover nothing on his Complaint, and
  9    this action is DISMISSED on the merits.
 10          4.     To the extent that any party requests any other form of relief, such
  11   request is DENIED.
  12         IT IS SO ORDERED.
  13
 14    Dated: April 28, 2021
                                              John W. Holcomb
  15                                          UNITED STATES DISTRICT JUDGE
  16
  17
  18
  19
 20
  21
 22
 23
 24
 25
 26
 27
 28

                                              -2-
